      Case 4:24-cv-00090 Document 8 Filed on 03/08/24 in TXSD Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


ERIK GARCIA,                                         )
                                                     )
                      Plaintiff,                     )
                                                     )         CIVIL ACTION
vs.                                                  )
                                                     )         Case No. 4:24-CV-00090
M.I.T. INVESTMENTS, LLC,                             )
                                                     )
                      Defendant.                     )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff, ERIK GARCIA and Defendant, M.I.T. INVESTMENTS, LLC, by and through

undersigned counsel and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, hereby jointly stipulate to the dismissal of Defendant and this entire Action with

prejudice. Each party to bear their own fees and costs.

      Respectfully submitted this 8th day of March, 2024.

                                      Law Offices of
                                      THE SCHAPIRO LAW GROUP, P.L.

                                      /s/ Douglas S. Schapiro____________
                                      Douglas S. Schapiro, Esq.
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      Case 4:24-cv-00090 Document 8 Filed on 03/08/24 in TXSD Page 2 of 2




                                   /s/ Joana Tagaropulos
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                                   Attorney for Defendant




                              CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 8th day of March, 2024, we electronically filed the

forgoing with the Clerk of the Court by using the CM/ECF system.


                                          /s/ Douglas S. Schapiro
                                          Douglas S. Schapiro
                                          Southern District of Texas ID No. 3182479
